Matthew B. Cox

Register No. 40171-018

Federal Correctional Complex“Low

P.D. Box 1031 l
Coleman, Florida 33521 d -, ;}

IN THE UHITED STATES DISTRICT COURT \ _
FOR THE HIDDLE DISTRICT OF FLORIDA . k

 

INCARCERATED ENTERTAINMENT, LLC ) Case No.
and EFRAIM DIVEROLI, an individual, )
)
Plaintiff, ) Related Cases
)
v ) 8:17~cv-03108-MSS-JSS
) 3=16-¢v-1302-T-35UA (Icc)
)
MATTHEW B. COX, )
Defendant. §

 

DEFENDANT'S NOTICE OF REHOVAL

Pursuant to 28 U.S.C. §§ 1441 and lhhé, and in accordance with 28 U.S.C.
§§ 1331, 1338, 1367, and consistent with the Order from the Southern District of
Florida (Exh. 1), Defendant Cox hereby files this Notice of Removal of the abovehh
captioned case from the Circuit Court for the Eleventh Judicial Circuit in and
for Miami-Dade County, Florida, in which it is now pending, to the United States
District Court for the Middle District of Florida. Because the issues raised by
plaintiffs and defendant involve federal questions and are inextricably linked
to matters proceeding before the United States District Court for the Middle

District of Florida, removal to this federal court is proper.

The federal causes of action Mr. Cox has raised in his Complaint in the
Middle District of Florida (Case No. 8:17-cv-O3108-MSS-JSS (Dkt. 1)),mirr0r the
earlier allegations he made against the plaintiffs back in March of 2017, when
he moved to intervene in the lawsuit between lncarcerated Entertainment and

Warner Bros. Pictures.
I. DIHLHHKHION

l. Plaintiffs' state court Complaint was served upon Defendant on
December 7, 2017. ln accordance with 28 U.S.C. § lééé, Cox filed a timely
motion seeking to have the state-court action removed to the Southern District
of Florida. (See Exh. 2) The district court (Moreno, J.) "dismissed" Cox's
motion "without prejudice" and granted "1eave to refile this case in the United
States District Court for the Middle District of Florida." (See Exh. ;) Cox's
motion to alter and amend the Southern District's Order of Dismissal was denied

on March 29, 2018. (See Exh._?)

2. Thus, in accordance with the Order of Dismissal from the Southern
District of Florida, Mr. Cox hereby files this Notioce of Removal of the above-
captioned case from the Circuit Court for the Eleventh Judicial Circuit in and
for Miami-Dade County, Florida, in which it is now pending, to the United States
District Court for the Southern District of Florida. A copy of the state-court
Complaint is submitted as Exhibit 4 to this Notice pursuant to 28 U.S.C. §

1446(a).

3. Having aggresively litigated what essentially amounts to two separate

fedral actions against Warner Bros. Pictures ("Warner"), plaintiffs, after

objecting to Cox's attempts to intervene in that lawsuit, have now initiated a

state»court action arising out of the same disputed conduct Cox has attempted

to litigate in federal court. Worse yet, plaintiffs filed suit in state court
after Cox had previously placed them on notice of his intent to pursue his
claims in a separate lawsuit pursuant to a stand-alone federal complaint against

Incarcerated Entertainment ("IE") et al.

&. Because the law governing removal does not permit forum shopping and
because the issues raised by the plaintiffs and defendant involve substantial
federal questions, removal to federal court is proper. And, because the issues
raised by plaintiffs and defendant are inextricably intertwined to matters

proceeding before the Middle District of Florida, removal to this forum is
proper.
II. BACKGROUND

5. In April 2016, IE filed a Complaint in the Middle District of Florida
against a number of persons and entities, including Warner. §§g Complaint (Dkt
No. 1), lncarcerated Entertainment v. Warner Bros. Pictures, et al., Case No.

S:lb-cv-OlBOQ-MSS-AAS (M.D. Fla.).*

6. IE's lawsuit arose out of Warner's movie, "WAR DOGS," a dark comedy
based on the widely reported story of two young men who secured $300 million in
U.S. Defense Department contracts to supply arms to the Afghan army. IE was
formed by one of the arms dealers portrayed in the movie, Efraim Diveroli
("Diveroli"), and his business partner, Ross Reback ("Reback"), to monetize
Diveroli's story. To that end, IE self-published Diveroli's memoir titled:
"Once A Gun Runner ... The Real Story" ("Gun Runner)(Dkt. 86).

f Unless otherwise indicated, all docket citation references are to the

court docket in Incarcerated Entertainment v. Warner Bros. Pictures, No. 8:16-
cv-Ol302-MSS-AAS (M.D. Fla.)

7. Defendant Matthew Cox is a published author. He writes true crime
and memoirs. Cox has written five books, one of which is a memoir published
by Skyhorse Publishing titled: "Generation Oxy." Cox also wrote the "Gun
Runner" manuscript (from which the book is derived). Notably, Cox is listed

as author on the book's cover. (Dkt. 36)

8. lt should be noted that Defendant Cox is a federal prisoner. He
selects the subject-matter for his writing from among the prisoner population
at the Coleman Federal Correctional Complex (low) in Florida. For "Generation
Oxy," Cox selected Douglas Dodd as his subject. (Dodd is a convicted drug
dealer who was then incarcerated at Coleman for distributing Oxycodone and
other opiods). For "Gun Runner,'l Cox selected Diveroli as his subject.
(Diveroli is a convicted fraudster who was then incarcerated at Coleman for

criminal fraud.)

9. lE filed its original complaint in 2016 accusing Warner and eight
others of a convoluted conspiracy to steal secrets from the Gun Runner
manuscript and improperly using Diveroli's name and likeness in the movie
War Dogs. (Dkt. 1 at “H 77-8&, 88-89, 101.) Warner moved to dismiss lE's
complaint. (Dkt. AO) Rather than oppose Warner's motion, IE hired new
counsel and filed an "amended" complaint in late 2016 (Dkt. 78). ln its new
complaint IE dismissed all defendants but Warner, dropped all of lE‘s
original causes of action, and accused Warner of falsely advertising War Dogs

as a true story.

10. The new complaint's gravamen was that in marketing War Dogs, Warner
sold the film as the "unadulterated truth" and as Diveroli's life story.
(Dkt. 78 at H 2) lhe new complaint alleged that Warner grossed more than

$85 million by portraying War Dogs as Diveroli's l'true story" when it was

not the true story. lE alleged that Warner's promotions were misleading

and that its false advertising campaign hurt its ability to market the Gun
Runner memoir. IE claimed it had been effectively shut out of the market-
place because consumers were more likely to purchase a ticket to War Dogs

than to purchase the book. (Id., at UU 3, 72, 75)

11. ln December, 2016, Warner moved to have lE's new complaint dismissed
on various grounds. (Dkt 89) ln its motion Warner conceded, however, that
"War Dogs" was not a true story, when it knew all along that the film was a

"fictionalized account" of the events. (Id. at 2-3, 7, 12)

12. ln March 2017, Cox moved to intervene in the lawsuit between IE
and Warner. Cox's motion was based on Rule 24 of the Federal Rules of Civil
Procedure and 17 U.S.C. H 501(b). (Dkt. 106 (motion to intervene); id, Dkt
106-l (intervenor's complaint).) Cox moved to intervene after he had
independently learned about IE having filed an "amended" complaint alleging
entirely new false-advertising claims after dropping all of its original
causes of action which Cox knew to be false and improperly manufactured by
IE's principals for the purpose of extracting an unjust and unwarranted

monetary settlement from Warner.

13. Defendant Cox, who is listed as a co-author on the cover of Gun
Runner, identified himself as the book's author and rights holder. (Dkt.
106-1 at HH 2-3) Cox argued he had the right to intervene in the lawsuit
because he is the rightful owner of the copyright and because his interests
in the subject-matter were not being protected. Cox asserted claims against
IE and both of its principals (Diveroli and Reback), whom Cox alleged had

conspired to steal his copyright and had manufactured the fraudulent claims

brought against Warner in lE's original complaint. (ld., at U“ 47, 55, 73-
76, 79, 111-114)

14. Mr. Cox contacted lE's new counsel and told Attorney lurkel that:

l understand that you were not lE's counsel last April
when Reback and Diveroli filed their original (fraudulent)
lawsuit against Warner Bros. Pictures. lt is further my
understanding that your firm was retained to represent IE
in connection with its second complaint against Warner
after lE had decided to withdraw its original (frivolous)
complaint.

look, l am not trying to visit the sins of the father upon

the son. l am not suggesting that your firm was complicit

in IE's scheme to defraud Warner by bringing its frivolous

and objectively unreasonable claim that Reback and Diveroli
had manufactured.

Because of your late arrival in this matter, you have no
first-hand basis to know what had in fact transpired
earlier. Therefore, l am putting your law firm on notice
that your clients -- Reback and Diveroli -- manufactured
their fraudulent claim that Warner had stolen Diveroli's
story to make its film WAR DOGS. Understand, l was present
during the conversation between Reback and Diveroli when
they hatched their scheme to manufacture their fraudulent
claim for the purpose of extracting an unwarranted
settlement. (At the appropriate time l will divulge all
of the pertinent facts relevant to this scheme which
included, inter alia, utilizing Diveroli's cousin in (los
Angeles) to set a trap in order to manipulate the son of
Warner's president into taking possession of the Gun
Runner manuscript so that Reback could then falsely claim
that Warner had stolen elements of the story for use in
its film.)

This is the primary reason l could not participate in the
earlier action. Not only have Reback and Diveroli committed
a fraud on the court, Diveroli also committed a fraud on

the Copyright Office (by omitting these facts from the
copyright application.)

See Exh. 5: Email from Matthew Cox to Attorney Kenneth Turkel (Apr. 22,
2017) at HU 2-4) Thus, Cox put lE's then new counsel on notice that

Diveroli had omitted material information pertaining to this scheme from

the copyright application with the intent to defraud the Copyright Office
into issuing the registration. Cox also put counsel on notice that IE had
earlier committed a fraud on the court by making representations that were

completely and verifiably false.

15. In the Intervenor's Complaint (Dkt. 106-1), Cox claimed ownership
interest in the copyright and asserted nine claims against IE including (1)
declaratory judgment of copyright ownership; (2) fraudulent copyright; (3)
copyright infringement; and (4) fraud on the Copyright Office. Cox claimed
that the Gun Runner manuscript was improperly characterized as a work made
for hire and that Diveroli's copyright was invalid because material
omissions were made in the registration application with the intent to

deceive the Copyright Office.

16. With respect to the purported contract between Cox and Diveroli,
Cox claimed the contract was void for fraud. (Dkt. 106-1 at U“ 88-93)(First
Cause of Action: Fraud in the Inducement); id., at UH 94-100 (Second Cause
of Action: Breach of Partnership Formation). During correspondence with
lE's attorneys Cox explained that:

a review of the factual contentions IE made in its
original complaint reveals that Diveroli had a
preexisting contractural relationship with Guy
Lawson and that Diveroli intentionally concealed
from me during the course of our negotiations and
throughout our relationship. gee

The representations that Diveroli made to persuade
me to write the memoir were false and materially
inaccurate. IE's (original) complaint conclusively
establishes that the agreement between Diveroli and
l was procured through fraud in the inducement.
Based upon these acts, the agreement between
Diveroli and l was void.

lf l am permitted to conduct discovery, 1 will be
able to obtain evidence from lE and Diveroli to
establish that the contract between Diveroli and

l is void and, therefore, that l am the rightful
owner of the copyright, By establishing these
facts, l will have substantiated my claim that lE
lacks standing to sue Warner and that l am the
proper plaintiff.

§g§ Exh. 6: Email from Matthew Cox to Kenneth lurkel (Aug. 18, 2017) at HH 5-6.

17. For its part, Warner took "no position on Cox's motion to intervene."

(Dkt. 110) lE, however, opposed Cox's motion. (Dkt. 108) lE claimed that Cox
had no legally protectable interest and that he was "certainly capable of
pursuing (his) claim in a separate lawsuit" pursuant to a stand-alone federal
complaint. lE took no position notwithstanding Warner's observation that Cox's
claims were not insubstantial. States Warner:

If the Court lets the case proceed with Cox as a

party, there are a host of detailed factual claims

asserted by Cox against IE, Diveroli and Reback

sounding in copyright, fraud and contract. The

claims revolve around a central theme that Cox is

legally and factually the sole author and owner

of Gun Runner, as a matter of copyright and

contract law, given that he alone authored the
2013 manuscript from which the published book was

derived.

§§g_Warner's Response to Motion to Intervene (Dkt. 110 at 3) Warner also
indicated that if Cox were permitted to intervene, the court "should resolve
Cox's claims against IE and Diveroli first" in order to "determine who is the
proper plaintiff."

18. Because Cox claimed an ownership interest in the copyright, he argued
that he had a right to intervene. The United States Copyright Act provides that
a district court "shall permit the intervention" of a person "claiming an
interest in the copyright." 17 U.S.C. § 501(b). Here, as shown below, the

court did not permit Cox to intervene despite having a right to do so. This

is all the more surprising in light of the substantial nature of his allegations:

construing Cox's factual allegations as true, he made a prima facie case that
he was the rightful owner of the Gun Runner copyright and that lE's copyright

was invalid and had been procured through fraud.

19. On November 14, 2017, the court (Hon. M. Scriven) issued an Order
dismissing lE's lawsuit against Warner after the parties had filed a stipulation
of voluntary dismissal. (Dkt. 144 (Order); Dkt. 143 (stipulation).) ln addition
to dismissing lE's suit, the court denied all pending motions including, inter

alia, Cox's motion to intervene.

20. Simply put, the court did not permit Cox to intervene despite having

a substantive right to do so. 17 U.S.C. § 501(b). Worse yet, the court sat on
Cox's motion for nine months before denying it. During that period, Cox was in
contact with lE's attorney and had placed lE on notice that:

lf the court decides to grant my motion to intervene,

l'll promptly submit my discovery demands. lf, however,

the court denies my motion to intervene, l will

immediately file a notice of appeal with the Eleventh

Circuit, and l will also initiate independent civil

actions against Warner and IE which l will then move

to consolidate.

See Exh. 6 at U 3. lhus, IE knew Cox intended to pursue his claims in a

separate lawsuit in the event he was not permitted to intervene.

21. lhe district court's inaction during the aforementioned nine month
period afforded lE and Warner an opportunity to collude to deprive Cox of his
property by entering a dismissal of the suit specifically designed to foreclose
an adjudication of Cox's claims of copyright ownership, fraud on the Copyright
Office, and fraudulent contract. lhis is not unfounded specualtion. lt remains
interesting that on the same day the court issued its Order dismissing lE's

federal lawsuit against Warner (Nov. 14), IE, represented by new counsel, had

its state-court Complaint prepared and ready to file against Cox. §§g Exh. 4:
State Court Complaint at p. 5 (dated on the same day federal district court

dismissed lE's suit).

22. The conclusion is unmistakable: IE and warner orchestrated the
dismissal of the lawsuit in order to foreclose an adjudication of Cox's claims
and to minimize Warner's losses from Cox's lawsuit. IE stood to have its causes
of action dismissed because Cox had armed Warner with information necessary to
assert valid defenses including a claim that lE had committed fraud on the court
by manufacturing its fraudulent claim that Warner had stolen elements of
Diveroli's story from the Gun Runner manuscript that Diveroli and Reback had
manipulated a Warner surrogate into taking possession of the manuscript so that
a plausible factual basis existed for lE to allege the fraudulent claims that

its principals had improperly manufactured and concocted.

23. Warner recognized that the real party in interest was Cox. But with
Cox handicapped by prison, Warner made an agreement with IE to minimize Narner's
losses from Cox's lawsuit. With the collapse of its case imminent, by agreeing
to a dismissal, lE received renumeration from warner to divert the imrpisoned
Cox to an inconvenient forum and one bereft of the protections available in

federal court to a federal prisoner.

III. GROUNDS FUR REMUVAL

24. lhe present lawsuit is removable from state court to federal court
pursuant to 28 U.S.C. §§ 1331, 1338, 1367(a) and 1441(a) because the issues
raised by plaintiffs involve federal questions. This Court has federal

question and supplemental jurisdiction over plaintiffs' claims for the reasons

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identified below.
A. Federal Oopyright law

25. This lawsuit is removable from state court because plaintiffs have
asserted claims and seek relief which are governed by the federal Copyright Act,
17 U.S.C. § 301(b), itself enacted pursuant to the Copyright Clause of the U.S.

Constitution.

26. A review of the state-court complaint (Exh. 4) demonstrates that the
plaintiffs have alleged that Diveroli and Cox entered into a purported "work-for-
hire" agreement which lE is seeking to have declared valid and enforceable. Id.,
at Relief at H "a". And, a review of the complaint demonstrates that the
plaintiffs have also alleged that Cox and Diveroli entered into a "work-for-hire"

agreement while in federal prison and that Cox assigned his copyright ownership

rights to Diveroli. ld., at UH 10, 12.

27. Notably, "work-for-hire" agreements of the type alleged here are
creatures of federal copyright law which defines the nature of such agreements;
the relationship between the contracting parties; the assignor's relationship
to the copyright; and the necessary conditions for the agreement and assignment

to be valid. §§g 17 U.S.C. § 101 et seq.

28. Without defendant conceding that any such relief is warranted,
plaintiffs seek an Order declaring "lhat lE is the copyright holder to the book,
Once A Gun Runner." §§§_Exh. 4: State Compl., Relief at "c". A review of the
state complaint also shows that plaintiffs have alleged that Cox assigned his

copyright to Diveroli. ld., at U 12.

29. Without defendant conceding the validity of plaintiffs' claims or

that any such relief is warranted, plaintiffs have asserted a cause of action

ll.

whose adjudication is inextricably governed by the federal Copyright Act --

and exclusively so, §gg 17 U.S.C. § 301. Thus, an adjudication of plaintiffs'
claims involve a federal question arising under the Copyright Act which

governs "work-for-hire" agreements and the transfer or "assignment" of copyright
ownership rights. See Stuart Weitzman v. Microcomputer Resources, 542 F.3d 859,
866-67 (11th Cir. 2008)(lawsuit seeking adjudication of intellectual property
ownership rights raised federal question under Copyright Act). Thus, this case

is removable on this basis alone.

30. Rhis case is also removable under 28 U.S.C. § 1441(a) because this
Court has original jurisdiction over the case under 28 U.S.C. §§ 1331, 1338
and 1367 because the foregoing federal questions appear on the face of the
plaintiffs' state-court complaint. §§§_28 U.S.C. § 1441(c); Pretka v. Kolter
City Plaza, 608 F.3d 744, 765 n. 20 (1lth Cir. 2010)(defendant may remove on
the basis of l'federal question jurisdiction ... where that question appears on

the face of the complaint.")

B. Federal Contract law

31. Alternatively, this lawsuit is removable from state court pursuant to
28 U.S.C. §§ 1331, 1338, 1367(a) and 1441(a) because plaintiffs have asserted a
claim whose resolution is governed by federal contract law and federal policy,
which deal with the ability of a ward of the federal government to enter into

contractural and business relationship of the type alleged to have occurred here.

32. A review of the state-court complaint establishes that plaintiffs have

conceded that at all times material to the parties purportedly entering into a
"work-for-hire" agreement, both Diveroli and Cox were federal inmates serving

their sentences at the Coleman Federal Correctional Complex in Florida. See

12.

Exh. 4: State Compl., at U 9 ("Diveroli and Cox met while inmates at the

Federal Correctional Complex located in Coleman, FL.");_id., at H 10 ("On

April 8, 2013, Diveroli and Cox executed a "Work-for-Hire Co-author Agreement.")
Thus, plaintiffs have alleged that the purported contract was executed while
both Diveroli and Cox were federal prisoners serving their sentences at FCC

Coleman-Low.

33. Without defendant conceding that any such relief is warranted,
plaintiffs seek an Order from the state court declaring the purported "work-for-
hire" agreement a valid and enforceable contract._§§§ Exh. 4: State Compl.,
Relief at U "a". And, without defendant conceding the validity of plaintiffs'
claims, plaintiffs have asserted a cause of action that involve a federal

question.

34. A resolution of both issues raise federal questions because a
determination of the validity of the purported agreement is governed by federal
contract law, given the undisputed fact that both parties to the purported
contract were federal inmates in a federal prison located on federal property
when they are alleged to have entered into the agreement. Accordingly, it is
clear that determining the validity of the purported contract raises federal
questions because a federal inmate's capacity to enter into contractural
relationships is governed by federal law given the prisoner's status as a ward
of the federal government. Likewise, a determination of whether a federal
inmate is even capable of entering into a valid contractural relationship with
another federal inmate while both men are incarcerated on federal property

involves a federal question.

13.

35. In addition, determining the validity of the purported "work-for-
hire" agreement raises another federal question in light of the undisputed
fact that federal policy (which all federal prisoners are subject) prohibits
federal inmates from entering into business relationships with one another.
Also, federal policy forbids federal inmates from conducting business in which
one inmate hires another to work, such as the purported "work-for-hire"

arrangement alleged to have occurred here.

36. Finally, federal policy expressly prohibits federal inmates from
exchanging anything of value with another inmate, such as the purported
"assignment" of copyright ownership rights alleged to have occurred here. Indeed,
whether a federal inmate is even capable of assigning copyright rights to

another inmate raises an additional federal question.

37. Thus, determining the validity of the purported "work-for-hire"
agreement and/or the purported assignment of copyright ownership rights the
plaintiffs have alleged in state court to have occurred involve federal
questions in light of federal policy which deals with the capability of a
federal inmate to enter into contractural or business relationships with

another inmate while both of them are in federal prison.

C. Forum Shopping

40. Ihe present lawsuit is removable from state court to federal court
because the issues raised by plaintiffs involve federal questions and are
inextricably linked with defendant's claims before the Federal District Court
for the Middle District of Florida. §§g_€omplaint, Matthew Cox v. Incarcerated

Entertainment, et al., No. 8:17-cv-O3108-MSS-JSS (M.D. Fla.)

14.

41. As indicated above, in March of 2017, Cox moved to intervene in the
Middle District of Florida lawsuit between plaintiffs and Warner. Cox asserted
that he was the author and rights holder of the Gun Runner manuscript and that
he, not IE, was the injured party. Cox further asserted that IE had improperly
manufactured its fraudulent claim that warner had stolen elements of Diveroli's
story from the manuscript to make the film War Dogs. With respect to the
purported contract between Cox and Diveroli, Cox alleged the contract was void

for fraud and, therefore, unenforceable.

42. In November 2017, the district court (Scriven, J.) dismissed IE's
lawsuit before ruling on Cox's motion to intervene. Thereafter, IE initiated a
state court action seeking to have the purported agreement between the parties
declared valid and enforceable. Without defendant conceding that any such relief
is warranted, plaintiffs seek an Order from the state court declaring that lE is
the copyright holder for the book (Once A Gun Runner) and that Cox had assigned

his copyright ownership interest to Diveroli.

43. A review of the state court complaint makes clear that plaintiffs are
seeking to have declared valid the very same purported contract that Cox, eight
months earlier, had alleged in federal court was void for fraud. (§gg
lntervenor's Complaint )Mar. 201?)(Dkt. 106-1) at UU 88-100 (first and second
causes of action). And this is also the same purported contract that Cox has,
likewise, alleged is void for fraud in his stand-alone federal complaint. (§§§
Complaint, Case No. 8:17-cv»03108»MSS-JSS (M.D. Fla.) at UH 193-206, 234~240
(fifth, sixth and tenth causes of action). This is also the same purported
contract that Cox, in an earlier email to IE's former counsel, alleged was void

for fraud.

15.

44. lE disingenuously initiated its state court action after objecting
to Cox's earlier efforts to intervene in the federal suit so that he could
challenge the validity of the very same purported contract that IE is now asking
a state court to declare valid. Rather than litigate the validity of the
purported contract in a federal forum where Cox could demonstrate IE's fraud on
the Copyright Office and fraud on the court through its actions in that very

case, lE objected to Cox's request to intervene.

45. IE desperately sought to keep Cox out of that federal lawsuit after

he had notified the parties that he was in a position to arm Warner with direct
evidence that it could use to show that lE's principals had improperly
manufactured IE's fraudulent claim that Warner had stolen elements of Diveroli's
story from the Gun Runner manuscript by manipulating a Warner surrogate (the son
of Warner's president) into taking possession of the manuscript so that IE could
allege the fraudlent claims it mafe against Warner in its Original Complaint. IE
agreed to dismiss the lawsuit after Warner agreed to settle the case before Cox

was permitted to intervene.

46. Now that IE has succeeded in manipulating the federal case to keep
Cox's fraud on the court allegations from being adjudicated in a federal forum
competent to sanction IE and invalidate the copyright it now seeks to have a
state court declare valid based on the same purported contract that Cox --

eight months earlier in federal court -- had alleged was void for fraud.

47. Because the law governing removal does not permit such a blatant
attempt at shopping for a forum, removal to federal court is proper. As the
Eleventh Circuit has explained: "The removal process was created by Congress

to protect defendants. Congress did not extend such protection with one hand,

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and with the other give plaintiffs a bag of tricks to overcome it." Legg v.
W eth, 428 F.3d 1317, 1325 (llth Cir. 2005). Accordingly, removal of IE's

complaint to a federal forum is proper.
D. Further Considerations Warranting Removal

48. Further support for this court exercising its removal jurisdiction
is the manifest nature of the allegations that Cox has made in his earlier
motion to intervene (Dkt. 106»1) and has re~alleged in his stand-alone Federal
Complaint. Cox believes that a federal court is a better forum since the
contract analysis will be made under federal contract law not Florida law,
since both parties to the purported agreement were federal inmates serving

their sentences in a federal prison located on federal property.

49. A further detriment to the state forum is that a material witness --
Ross Reback -- has recently passed away. The federal court is already aware of
Mr. Reback and his involvement. Plus, Reback's communications with Cox through
the Federal Bureau of Prisons inmate email system (Corr-Links") will be
discoverable through federal court, but not discoverable via a state court
discovery order for among other reasons, federal privacy laws. ln order for
Cox to prove his claims of fraud against IE and Diveroli, Cox will need to
conduct limited discovery to obtain evidence that is currently in the possession
of federal prison officials (i.e., both Cox and Diveroli's "Corr-Links" email
transmissions; recorded phone calls between Reback and Cox; Cox's prisoner

financial account history to show Reback‘s deposits to reimburse expenses, et

cetera).

50. Unless this court exercise its removal jurisdiction, IE will have

succeeded in securing a litigation advantage through forum shopping.

17.

NOTICE

51. Pursuant to 28 U.S.C. § lééo(d), Cox has provided written notice
of the filing of this Notice of Removal, along with copies of this Notice and
all attachments, to all adverse parties and with the Clerk for the Circuit

Cburt for the Eleventh Judicial Circuit in and for Miami-Dade County, Florida.

52. A copy of this Notice is being filed by Cox with the state court
where this action is pending, after the filing in this court of this Notice

in compliance with 28 U.S.C. § 1446(b).

CDNCLUSION

Because plaintiffs' state-court complaint raises federal questions,
this Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,

1338, 1367 and 1é41(a).

WHEREFORE, notice is given that this action is removed from the Circuit
Court for the Eleventh Judicial Circuit in and for Miami-Dade County, Florida,
in which it is now pending, to the United States District Court for the
Middle District of Florida. Mr. Cox respectfully requests that this Court

exercise jurisdiction over this matter.

Dated: April 19, 2018 Respectfully submitted,

/,%V?£p

Matthew Cox

 

18.

